

Matter of Lubert (2023 NY Slip Op 05579)





Matter of Lubert


2023 NY Slip Op 05579


Decided on November 2, 2023


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered:November 2, 2023

PM-255-23
[*1]In the Matter of Richard P. Lubert, an Attorney. (Attorney Registration No. 1961150.)

Calendar Date:October 30, 2023

Before:Garry, P.J., Clark, Aarons, Reynolds Fitzgerald and Fisher, JJ.

Richard P. Lubert, Margate City, New Jersey, pro se.
Monica A. Duffy, Attorney Grievance Committee for the Third Judicial Department, Albany (Alison M. Coan of counsel), for Attorney Grievance Committee for the Third Judicial Department.



Per Curiam.
Richard P. Lubert was admitted to practice by this Court in 1985 and lists an address in Margate City, Massachusetts [FN1] with the Office of Court Administration. Lubert now seeks leave to resign from the New York bar for nondisciplinary reasons (see  Rules for Atty Disciplinary Matters [22 NYCRR] § 1240.22 [a]). The Attorney Grievance Committee for the Third Judicial Department (hereinafter AGC) advises that it does not oppose Lubert's application.
Upon reading Lubert's affidavit sworn to September 18, 2023 and filed September 20, 2023, and upon reading the October 18, 2023 correspondence in response by the Deputy Chief Attorney for AGC, and having determined that Lubert is eligible to resign for nondisciplinary reasons, we grant his application and accept his resignation.
Garry, P.J., Clark, Aarons, Reynolds Fitzgerald and Fisher, JJ., concur.
ORDERED that Richard P. Lubert's application for permission to resign is granted and his nondisciplinary resignation is accepted; and it is further
ORDERED that Richard P. Lubert's name is hereby stricken from the roll of attorneys and counselors-at-law of the State of New York, effective immediately, and until further order of this Court (see generally  Rules for Atty Disciplinary Matters [22 NYCRR] § 1240.22 [b]); and it is further
ORDERED that Richard P. Lubert is commanded to desist and refrain from the practice of law in any form in the State of New York, either as principal or as agent, clerk or employee of another; and Lubert is hereby forbidden to appear as an attorney or counselor-at-law before any court, judge, justice, board, commission or other public authority, or to give to another an opinion as to the law or its application, or any advice in relation thereto, or to hold himself out in any way as an attorney and counselor-at-law in this State; and it is further
ORDERED that Richard P. Lubert shall, within 30 days of the date of this decision, surrender to the Office of Court Administration any Attorney Secure Pass issued to him.



Footnotes

Footnote 1: Based on review of the records with the Office of Court Administration and Lubert's motion papers, it appears Lubert's address should be listed in Margate City, New Jersey with the Office of Court Administration.






